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COLLEEN KOLLAR-KOTELLY, UNITED STATES DISTRICT COURT JUDGE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : Docket No.: 0090 1:23CR00018-001

vs. : Disclosure Date: April 17, 2023

Chase, Gabriel

PARTIES OBLIGATION AND RESPONSE TO PRESENTENCE REPORT

Pursuant to Fed. Rules of Crim. Proc. Rule 32(f)(1) and (2), the parties shall submit any material
inaccuracies or disputes to the presentence investigation report (PSR), by May 1, 2023 This form
and/or objections to the PSR shall be filed via CM/ECF.

Note: The probation office never includes information about 18 USC § 3553(e) or USSG § 5K1.1,
pursuant to Rule 32(c)(3).

For the Government

(CHECK APPROPRIATE BOX)
(_) There are no material/factual inaccuracies therein.

( ) There are material/factual inaccuracies in the PSR.

For the Defendant
(CHECK APPROPRIATE BOX)

There are no material/factual inaccuracies therein.

(_) There are material/factual inaccuracies in the PSR.

Restrictions on Use and Redisclosure of Presentence Report
The presentence investigation report and this form are not public documents.

It is the policy of the federal judiciary and the Department of Justice that further redisclosure of
the presentence investigation report is prohibited without the consent of the sentencing judge.

 

RX
